                                 OPINION
On May 4, 1993, appellee, Stephen E. Woodruff, pleaded guilty to one count of kidnapping, in violation of R.C. 2905.01, and three counts of rape, in violation of R.C. 2907.02. He was subsequently sentenced by the Lake County Court of Common Pleas to serve an indefinite term of incarceration of seven to twenty-five years on each count of rape, to be served concurrently; appellee was also sentenced to serve an indefinite term of incarceration of five to fifteen years on the kidnapping count, to be served consecutively to the rape counts. Having been convicted of a sexually oriented offense, appellee became subject to a  sexual predator hearing under Ohio's version of Megan's Law, recently amended R.C. Chapter 2950.
By judgment entry filed July 1, 1997, the trial court, suasponte, dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the trial court's judgment dismissing the sexual predator proceedings is hereby affirmed on alternative grounds.
JUDGE ROBERT A. NADER
FORD, P.J.,
O'NEILL, J., concur.